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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

                                                    :
  GARY KOOPMANN, TIMOTHY KIDD and
                                                    :
  VICTOR PIRNIK, Individually and on Behalf of
                                                    :    No. 15 Civ. 7199 (JMF)
  All Others Similarly Situated,
                                                    :
                              Plaintiffs,           :
                                                    :
                        v.                          :
                                                    :
  FIAT CHRYSLER AUTOMOBILES N.V.,                   :
  FCA US LLC, SERGIO MARCHIONNE,                    :
  RICHARD K. PALMER, SCOTT                          :
  KUNSELMAN, MICHAEL DAHL, STEVE                    :
  MAZURE, and ROBERT E. LEE,                        :
                                                    :
                              Defendants.           :
                                                    :


                  DECLARATION OF JOSHUA S. LEVY
         IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS THE
  EMISSIONS-RELATED CLAIMS FROM THE FOURTH AMENDED COMPLAINT

              I, Joshua S. Levy, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

              1.     I am a member of the bar of this Court and am associated with the law

firm of Sullivan & Cromwell LLP (“S&C”), counsel for Defendants in the above-captioned

action.

              2.     I respectfully submit this Declaration to provide the Court with certain

materials cited in the Memorandum of Law in Support of Defendants’ Motion to Dismiss the

Emissions-Related Claims from the Fourth Amended Complaint.

              3.     Attached hereto as Exhibit 1 is a true and correct copy of the transcript of

Fiat Chrysler Automobiles N.V.’s (“FCA NV”) July 27, 2017 earnings call, obtained from

Bloomberg L.P.
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               4.      Attached hereto as Exhibit 2 is a true and correct copy of the audio

recording of FCA NV’s July 27, 2017 earnings call, obtained from Bloomberg L.P. The audio

file will be provided to the Court on a CD.

               5.      Attached hereto as Exhibit 3 is a true and correct copy of a service bulletin

titled “18-018-14 REV. D,” dated October 17, 2014, which is also available at https://static.

nhtsa.gov/odi/tsbs/2014/SB-10063276-0335.pdf.

               6.      Attached hereto as Exhibit 4 is a true and correct copy of a service bulletin

titled “18-045-14,” dated November 21, 2014, which is also available at https://static.nhtsa.gov/

odi/tsbs/2014/SB-10063350-0335.pdf.

               7.      Attached hereto as Exhibit 5 is a true and correct copy of a service bulletin

titled “09-006-15,” dated July 18, 2015, which is also available at https://static.nhtsa.gov/odi/

tsbs/2015/SB-10058923-9828.pdf.

               8.      Attached hereto as Exhibit 6 is a true and correct copy of a service bulletin

titled “18-064-15,” dated September 24, 2015, which is also available at http://www.wk2jeeps.

com/tsb/tsb_wk2_1806415.pdf.

               9.      Attached hereto as Exhibit 7 is a true and correct copy of a service bulletin

titled “18-017-16,” dated February 17, 2016, which is also available at https://static.nhtsa.gov/

odi/tsbs/2016/SB-10074912-5290.pdf.

               10.     Attached hereto as Exhibit 8 is a true and correct copy of a letter from the

Environmental Protection Agency (“EPA”) to automobile manufacturers, including FCA US

LLC (“FCA US”), dated September 25, 2015, concerning confirmatory emissions testing.

               11.     Attached hereto as Exhibit 9 is a true and correct copy of a CNBC article

titled CNBC Exclusive: CNBC Transcript: Fiat Chrysler CEO Sergio Marchionne Speaks with



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CNBC’s Phil LeBeau Today on CNBC’s “Power Lunch”, dated January 12, 2017, which is also

available at https://www.cnbc.com/2017/01/12/cnbc-exclusive-cnbc-transcript-fiat-chrysler-ceo-

sergio-marchionne-speaks-with-cnbcs-phil-lebeau-today-on-cnbcs-power-lunch.html.

               12.     Attached hereto as Exhibit 10 is a true and correct copy of a letter from the

National Highway Traffic Safety Administration (“NHTSA”) to FCA US, dated October 29,

2014, concerning a recall involving vehicles installed with airbags manufactured by third-party

Takata Corp.

               13.     Attached hereto as Exhibit 11 is a true and correct copy of a letter from

NHTSA to FCA US, dated November 19, 2014, concerning a recall involving rear fuel tanks of

certain Jeep models.

               14.     Attached hereto as Exhibit 12 is a true and correct copy of a letter from

NHTSA to FCA US, dated November 25, 2014, concerning a recall involving vehicles installed

with airbags manufactured by third-party Takata Corp.

               15.     Attached hereto as Exhibit 13 is a true and correct copy of a Reuters

article titled Germany Goes to EU with Accusation of Fiat Emissions Cheating, dated September

1, 2016, which is also available at http://www.reuters.com/article/us-germany-fiat-chrysler-

emissions-docum-idUSKCN1174O3.

               16.     Attached hereto as Exhibit 14 is a true and correct copy of a press release

issued by the European Commission titled Car Emissions: Commission Opens Infringement

Procedure Against Italy for Breach of EU Rules on Car Type Approval, dated May 17, 2017,

which is also available at http://europa.eu/rapid/press-release_IP-17-1288_en.htm.

               17.     Attached hereto as Exhibit 15 is a true and correct copy of a Reuters

article titled German Transport Ministry Says Finds Defeat Device in Fiat Car, dated March 31,



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2017, which is also available at http://www.reuters.com/article/fiat-emissions-germany-

idUSL5N1H85FJ.

                 18.    Attached hereto as Exhibit 16 is a true and correct copy of a press release

issued by FCA NV titled FCA on Real Driving Emissions, dated February 2, 2016.

                 19.    Attached hereto as Exhibit 17 is a true and correct copy of a WardsAuto

article titled Emissions Testing Backlog Problematic, FCA Exec Says, dated December 2, 2015,

which is also available at http://wardsauto.com/engines/emissions-testing-backlog-problematic-

fca-exec-says.

                 20.    Attached hereto as Exhibit 18 is a true and correct copy of a letter from

FCA US to the EPA, dated August 21, 2014, concerning FCA US’s application for Certificates

of Conformity for Model Year 2015 Jeep Grand Cherokee and Dodge Ram 1500 3.0 liter diesel

vehicles. The letter is posted to the EPA’s website with a document date of December 17, 2014,

and is also available at https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34338&flag=1.

                 21.    Attached hereto as Exhibit 19 is a true and correct copy of a letter from

FCA US to the EPA, dated June 8, 2015, concerning FCA US’s application for Certificates of

Conformity for Model Year 2015 Jeep Grand Cherokee and Dodge Ram 1500 3.0 liter diesel

vehicles. The letter is posted to the EPA’s website with a document date of June 25, 2015, and is

also available at https://iaspub.epa.gov/otaqpub/display_file.jsp?docid=34338&flag=1.

                 I declare under penalty of perjury that the foregoing is true and correct.

                 Executed this 5th day of September 2017 in New York, New York.



                                                               /s/ Joshua S. Levy
                                                               Joshua S. Levy




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